   Case 3:23-cv-00048-HEH Document 1 Filed 01/19/23 Page 1 of 19 PageID# 24




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                               RICHMOND DIVISION


DONALD AUSTIN, DEBORAH WINSTON,
SHARON SIMPSON and LORI DALTON,

individually and on behalf of themselves and others
similarly situated,

              Plaintiffs,                             Civil Action No.: 3:23cv048

       v.

KROGER LIMITED PARTNERSHIP I MID
ATLANTIC MARKETING AREA,

              Defendant.



                   COLLECTIVE AND CLASS ACTION COMPLAINT
   Case 3:23-cv-00048-HEH Document 1 Filed 01/19/23 Page 2 of 19 PageID# 25




       1.      In 2022, Defendant Kroger Limited Partnership I Mid-Atlantic Marketing Area

(“Kroger”), which owns and operates the Kroger grocery stores throughout Virginia and West

Virginia, implemented a new payroll system called MyTime or MyInfo (collectively referred to as

“MyTime”). Since the rollout of MyTime, there have been a litany of problems with workers

receiving their lawfully owed wages. This has included workers not being paid for hours worked,

workers not being compensated at the proper overtime rates pursuant to state and federal law, and

workers having unauthorized amounts deducted from their paychecks. These problems have

arisen in the midst of the winter holiday season, a notoriously busy time period for Kroger stores

during which employees are pressured to work harder and longer hours. Although Kroger is

aware of these issues, it has failed to take prompt action to rectify these problems, instead forcing

employees to scramble when their proper wages do not arrive. For example, Kroger employees

have been forced to work second jobs, or take on high-interest and risky payday loans in order to

meet daily expenses.

       2.      Plaintiffs, by and through their undersigned counsel, bring this action on behalf of

themselves and others similarly situated against Defendant Kroger for failing to pay its employees

legally required wages and overtime premiums in violation of the Federal Fair Labor Standards

Act of 1938 (the “FLSA”), as amended, 29 U.S.C. §§ 201 et. seq., the Virginia Wage Payment

Law, Virginia Code § 40.1-29 et seq. (“VWPL”), the Virginia Overtime Wage Act, Virginia Code

§ 40.1-29.2 et seq. (“VOWA”), the Virginia Minimum Wages Act, Virginia Code § 40.1-28.8 et

seq. (“VMWA”), the West Virginia Wage Payment and Collection Act, West Virginia §21-5-1 et

seq. (“WVWPCA”), and the West Virginia Minimum Wage and Maximum Hours Standards for

Employees Act, W. Va. Code § 21-5C-3, et seq. (“WVMWA”).



                                                 2
   Case 3:23-cv-00048-HEH Document 1 Filed 01/19/23 Page 3 of 19 PageID# 26




                                  JURISDICTION AND VENUE

       3.        This Court has jurisdiction over Defendant pursuant to Section 16(b) of the FLSA,

29 U.S.C. § 216(b), and 28 U.S.C. § 1337(a) relating to “any civil action or proceeding arising

under an Act of Congress regulating commerce.” Subject matter jurisdiction is invoked under 28

U.S.C. § 1331.

       4.        This Court has supplemental jurisdiction over Plaintiffs’ state-law claims pursuant

to 28 U.S.C. § 1367(a), which confers federal subject matter jurisdiction over “all other claims

that are so related to claims in the action within such original jurisdiction that they form part of

the same case or controversy.” As discussed below, Plaintiffs’ state-law claims arise from a

common set of operative facts—i.e., their employment and wages paid by Defendant—and are so

related to the claims within the original jurisdiction of the Court that they form part of the same

case or controversy.

       5.        This Court also has jurisdiction over Plaintiffs’ state-law claims pursuant to 28

U.S.C. § 1332 because the amount in controversy exceeds the sum of $5,000,000 and there are

members of the class who are citizens of different states than Defendant.

       6.        Venue is proper pursuant to 28 U.S.C. § 1391(b)(1) as a substantial portion of the

events or omissions giving rise to the claims occurred in this District.

                                              PARTIES

       7.        Plaintiff Donald L. Austin Jr. is a resident of Concord, Virginia and is employed

by Kroger as a Drug General Manager Backup in Appomattox, Virginia.

       8.        Plaintiff Deborah Winston is a resident of Richmond, Virginia and is employed by

Kroger as a drug/GM clerk in Mechanicsville, Virginia.



                                                   3
   Case 3:23-cv-00048-HEH Document 1 Filed 01/19/23 Page 4 of 19 PageID# 27




           9.    Plaintiff Sharon Simpson is a resident of St. Albans, West Virginia and was

employed by Kroger in as a clerk in the cheese shop in Charleston, West Virginia.

           10.   Plaintiff Lori Dalton is a resident of Winfield, West Virginia and is employed by

Kroger as a head deli baker in Saint Albans, West Virginia.

           11.   Defendant Kroger Limited Partnership I Mid-Atlantic Marketing Area (“Kroger”)

owns and operates a chain of Kroger retail grocery stores in Virginia and West Virginia, among

other states. Kroger Limited Partnership I Mid-Atlantic Marketing Area is headquartered in and

has its principal place of business at 140 Eastshore Drive, Suite 300, Glen Allen, VA 23059.

           12.   Defendant is an enterprise whose annual gross volume of sales made or business

done is not less than $500,000 (exclusive of excise taxes at the retail level that are separately

stated).

           13.   Defendant is a company with employees involved in interstate commerce,

including by regularly purchasing and selling items produced and transported in interstate

commerce, by regularly using interstate payment systems, and by regularly using interstate means

of communications.

                                   FACTUAL ALLEGATIONS

           14.   In 2022, Kroger implemented a new payroll system for its hourly, non-exempt

employees in Virginia and West Virginia. This new payroll system is called “MyTime” or

“MyInfo” (collectively referred to as “MyTime”).

           15.   Since the MyTime system was rolled out, and continuing through the present,

Plaintiffs and similarly situated hourly, non-exempt employees of Defendant in Virginia and West

Virginia have not been regularly receiving their lawfully owed wages.



                                                  4
   Case 3:23-cv-00048-HEH Document 1 Filed 01/19/23 Page 5 of 19 PageID# 28




       16.     The failure to properly pay Plaintiffs and others similarly situated has occurred and

continues to occur in a number of ways, which include but are not limited to: (1) missing or late

paychecks; (2) paychecks for amounts less than are owed; and (3) unauthorized and/or incorrect

deductions or withholdings.

       17.     Plaintiff Donald L. Austin Jr. works for Defendant in Appomattox, Virginia and

earned an hourly rate of $17.25. Over the past several months, since the institution of MyTime,

there have been multiple weeks where he has not timely received a paycheck even though he

performed work for Defendant. Additionally, there were weeks where unauthorized amounts

have been deducted from his paycheck, resulting in him receiving less than his earned wages.

       18.     Plaintiff Deborah Winston has worked for Defendant in Mechanicsville, Virginia

since 2004 and earned an hourly rate of $17.85. Since MyTime has been instituted, Deborah

Winston has worked hours in excess of forty hours per week. However Kroger has failed to pay

her at one and one-half times her regular rate for those hours worked in excess of forty per week.

For example, during the week of December 11, 2022, Ms. Winston worked 54.75 hours. For

forty hours of work she was paid at her regular rate of $17.85 per hour, but she was not paid at

time and a half for the additional 14.75 hours. Kroger has been made aware of these issues, but

has failed to correct them.

       19.     Plaintiff Sharon Simpson worked for Defendant in Charleston, West Virginia from

August to September 2022, which was after the institution of MyTime. She worked

approximately 79 hours during her approximately five weeks of employment, including

approximately 26 hours of employee training. Ms. Simpson never received any pay while

working for Kroger. Kroger has been made aware of these issues, but has failed to correct them.



                                                 5
   Case 3:23-cv-00048-HEH Document 1 Filed 01/19/23 Page 6 of 19 PageID# 29




       20.     Plaintiff Lori Dalton has worked for Defendant in West Virginia since 2014. For

approximately seven weeks in 2022, after the institution of MyTime, Ms. Dalton’s copay for

spousal insurance was deducted twice from each paycheck, resulting in the loss of hundreds of

dollars. Kroger has been made aware of these issues, but has failed to correct them.

       21.     The issues faced by the Named Plaintiffs are common to other employees in the

putative Collective and Class Actions.

       22.     Defendant has been notified of the failure to properly pay wages to Plaintiffs and

others similarly situated repeatedly, and Defendant has acknowledged that the introduction of

MyTime has resulted in underpayments to Kroger employees. However, these unlawful pay

practices continue. Over the past several weeks, hundreds of workers have reported problems

receiving proper payment.

                   COLLECTIVE ACTION ALLEGATIONS OF THE FLSA

       23.     This action is maintainable as an opt-in collective action pursuant to the FLSA, 29

U.S.C. § 216(b).

       24.     Defendant has violated the FLSA by failing to pay Plaintiffs Donald Austin,

Deborah Winston, Sharon Simpson and others similarly situated for all hours worked and for

failing to pay Plaintiffs Donald Austin, Deborah Winston, Sharon Simpson and others similarly

situated at a rate of one-and-one half times their regular rate of pay for all hours worked over

forty in any one workweek.

       25.     This action can, and should, be maintained as a collective action for all claims that

can be redressed under the FLSA.

       26.     Plaintiffs Donald Austin, Deborah Winston, Sharon Simpson and others similarly

situated seek certification of their claims as a collective action on behalf of all past and present

                                                  6
   Case 3:23-cv-00048-HEH Document 1 Filed 01/19/23 Page 7 of 19 PageID# 30




non-exempt employees who worked for Defendant in Virginia and West Virginia, who, while

working for Defendant, were not compensated for all hours worked or were not compensated one-

and-a-half times their regular rate of pay for those hours worked in excess of forty in any one

workweek, at any time since the introduction of MyTime until the date of judgment.

        27.     Members of the collective action are similarly situated. Members of the proposed

collective action have been subjected to the same or substantially the same pay policies and

practices. The identities of the members of the proposed collective action are known to

Defendant and can be located through Defendant’s records.

        28.     Plaintiffs Donald Austin, Deborah Winston and Sharon Simpson hereby consent to

be party plaintiffs in this action under 29 U.S.C. § 216(b). If this case does not proceed as a

collective action, Plaintiffs intend to seek relief individually.

         CLASS ACTION ALLEGATIONS OF THE VWPL, VOWA AND VMWA

        29.     Defendant has violated the VWPL, VOWA and VMWA, resulting in damages to

Plaintiffs Donald Austin and Deborah Winston (“Virginia Named Plaintiffs”) as well as members

of the Virginia Class in the form of unpaid wages, liquidated damages, costs, and reasonable

attorneys’ fees.

        30.     The Virginia Named Plaintiffs bring these VWPL, VOWA and VMWA claims

pursuant Federal Rule of Civil Procedure 23.

        31.     The Virginia Class is defined as follows: All current and former hourly employees

who worked for Defendant in Virginia at any time since the introduction of MyTime through the

date of judgment who were not paid wages for all hours worked, were not paid overtime

premiums, had unauthorized deductions taken from their pay, or were not paid minimum wage.

        32.     Members of the Proposed Rule 23 Class are readily ascertainable. The identity of

                                                   7
   Case 3:23-cv-00048-HEH Document 1 Filed 01/19/23 Page 8 of 19 PageID# 31




class members may be determined from Defendant’s records.

          33.      The Virginia Proposed Rule 23 Class meets all the requirements of Rule 23(a) and

(b)(3):

                a. Numerosity: Upon information and belief, there are thousands of persons who

worked for Defendant that have been subjected to the challenged practices. Therefore, joinder of

all class members would be impracticable.

                b. Commonality: The Virginia Named Plaintiffs and all members of the Proposed

Rule 23 Class have been compensated pursuant to the unlawful practices alleged herein and,

therefore, one or more questions of law or fact are common to the Proposed Rule 23 Class. These

common questions include, but are not limited to, the following:

                     i.    Whether Defendant failed to compensate the Virginia Named Plaintiffs and

                            putative Virginia Class Members at the lawful rate for all hours worked

                            in excess of forty in any one workweek; and

                     ii.   Whether Defendant failed to compensate the Virginia Named Plaintiffs and

                            putative Virginia Class Members for all wages owed.

                c. Typicality: The Virginia Named Plaintiffs and members of the Proposed Virginia

Class were subjected to the same unlawful policies, practices, and procedures and sustained

similar losses, injuries, and damages. All class members were subjected to materially similar

compensation practices by Defendant, as alleged herein, and were denied lawfully owed

payments. The Virginia Named Plaintiffs’ claims are therefore typical of the claims that could be

brought by members of the Proposed Virginia Class, and the relief sought is typical of the relief

that could be sought by members of the Proposed Virginia Class in separate actions.



                                                   8
   Case 3:23-cv-00048-HEH Document 1 Filed 01/19/23 Page 9 of 19 PageID# 32




             d. Adequacy of Representation: The Virginia Named Plaintiffs are able to fairly and

adequately protect the interests of all members of the Proposed Virginia Class, as they are

challenging the same practices as the Proposed Virginia Class as a whole, and there are no known

conflicts of interest between Virginia Named Plaintiffs and the members of the Proposed Virginia

Class. Virginia Named Plaintiffs have retained counsel who have extensive experience with the

prosecution of wage-and-hour claims and complex class-action litigation.

             e. Predominance and Superiority: The common questions identified above

predominate over any individual issues. A class action is superior to individual adjudications of

this controversy. Pursuit of this action as a class would provide an efficient mechanism for

adjudicating the claims of the Virginia Named Plaintiffs and the members of the Proposed Rule

23 Class.

            CLASS ACTION ALLEGATIONS OF THE WVWPCA AND WVMWA

       34.      Defendant has violated the WVWPCA and WVMWA, resulting in damages to

Plaintiffs Sharon Simpson and Lori Dalton (“West Virginia Named Plaintiffs”) as well as

members of the West Virginia Class in the form of unpaid wages, liquidated damages, costs, and

reasonable attorneys’ fees.

       35.      The West Virginia Named Plaintiffs bring these WVWPCA and WVMWA claims

pursuant Federal Rule of Civil Procedure 23.

       36.      The West Virginia Class is defined as follows: All current and former hourly

employees who worked for Defendant in West Virginia at any time since the introduction of

MyTime through the date of judgment who were not paid wages for all hours worked, were not

paid overtime premiums, had unauthorized deductions taken from their pay, or were not paid

minimum wage.

                                                 9
   Case 3:23-cv-00048-HEH Document 1 Filed 01/19/23 Page 10 of 19 PageID# 33




          37.      Members of the Proposed West Virginia Class are readily ascertainable. The

identity of class members may be determined from Defendant’s records.

          38.      The Proposed West Virginia Class meets all the requirements of Rule 23(a) and

(b)(3):

                a. Numerosity: Upon information and belief, there are thousands of persons who

worked for Defendant that have been subjected to the challenged practices. Therefore, joinder of

all class members would be impracticable.

                b. Commonality: The West Virginia Named Plaintiffs and all members of the

Proposed West Virginia Class have been compensated pursuant to the unlawful practices alleged

herein and, therefore, one or more questions of law or fact are common to the Proposed West

Virginia Class. These common questions include, but are not limited to, the following:

                     i.    Whether Defendant failed to compensate the West Virginia Named

                            Plaintiffs and West Virginia Class Members for all hours worked; and

                     ii.   Whether Defendant failed to compensate the West Virginia Named

                            Plaintiffs and putative West Virginia Class Members at the lawful rate for

                            all hours worked at least twice each month with no more than 19 days

                            between each payment.

                c. Typicality: The West Virginia Named Plaintiffs and members of the Proposed West

Virginia Class were subjected to the same unlawful policies, practices, and procedures and

sustained similar losses, injuries, and damages. All class members were subjected to materially

similar compensation practices by Defendant, as alleged herein, and were denied lawfully owed

payments. The West Virginia Named Plaintiffs’ claims are therefore typical of the claims that

could be brought by members of the Proposed West Virginia Class, and the relief sought is typical

                                                    10
   Case 3:23-cv-00048-HEH Document 1 Filed 01/19/23 Page 11 of 19 PageID# 34




of the relief that could be sought by members of the Proposed West Virginia Class in separate

actions.

              d. Adequacy of Representation: The West Virginia Named Plaintiffs are able to fairly

and adequately protect the interests of all members of the Proposed West Virginia Class, as they

are challenging the same practices as the Proposed West Virginia Class as a whole, and there are

no known conflicts of interest between the West Virginia Named Plaintiffs and the members of

the Proposed West Virginia Class. The West Virginia Named Plaintiffs have retained counsel

who have extensive experience with the prosecution of wage-and-hour claims and complex class-

action litigation.

              e. Predominance and Superiority: The common questions identified above

predominate over any individual issues. A class action is superior to individual adjudications of

this controversy. Pursuit of this action as a class would provide an efficient mechanism for

adjudicating the claims of Plaintiffs and the members of the Proposed Rule 23 Class.

                                       CAUSES OF ACTION

                                              COUNT I
                            Violation of the Fair Labor Standards Act
                                       29 U.S.C. § 201, et seq.
                     (On Behalf of Plaintiffs Donald Austin, Deborah Winston,
                         Sharon Simpson and Others Similarly Situated)

        39.      Plaintiffs re-allege and incorporate by reference the allegations set forth in the

preceding paragraphs.

        40.      The FLSA requires employers to pay non-exempt employees minimum wage for

all hours worked.




                                                   11
   Case 3:23-cv-00048-HEH Document 1 Filed 01/19/23 Page 12 of 19 PageID# 35




       41.     Defendant violated the FLSA by knowingly failing to pay Plaintiffs Donald

Austin, Sharon Simpson and other similarly situated individuals minimum wage for all hours

worked.

       42.     The FLSA requires employers to pay non-exempt employees an overtime premium

of one and one half times their regular pay for hours worked in excess of 40 hours in any one

work week.

       43.     Defendant violated the FLSA by knowingly failing to pay Plaintiffs Donald

Austin, Deborah Winston and other similarly situated individuals one and one half times their

regular hourly rate for hours worked in excess of 40 hours in any one work week.

       44.     Plaintiffs are “employees” and Defendant is their “employer” under 29 U.S.C. §

203.

       45.     Defendant’s violations of the FLSA were repeated, knowing, willful and

intentional.

       46.     Defendant is liable to Plaintiffs, and all other similarly situated individuals, under

the FLSA, 29 U.S.C. § 216(b), for all unpaid wages and unpaid overtime wages, plus an equal

amount in liquidated damages, attorney’s fees, litigation expenses, costs, and any other and

further relief this Court deems appropriate.


                                           COUNT II
                         Violation of the Virginia Wage Payment Law
                                   Va. Code § 40.1-29, et seq.
          (On Behalf of the Virginia Named Plaintiffs and Others Similarly Situated)

       47.     Plaintiffs re-allege and incorporate by reference the allegations set forth in the

preceding paragraphs.



                                                  12
   Case 3:23-cv-00048-HEH Document 1 Filed 01/19/23 Page 13 of 19 PageID# 36




       48.     Virginia Code § 40.1-29(A) provides that employers “shall establish regular pay

periods and rates of pay for employees” and that “employees paid on an hourly rate at least once

every two weeks[.]”

       49.     Virginia Code § 40.1-29(J) also provides that “[i]f the court finds that the

employer knowingly failed to pay wages to an employee in accordance with this section, the court

shall award the employee an amount equal to triple the amount of wages due and reasonable

attorney fees and costs.”

       50.     Defendant violated Virginia law by knowingly failing to timely pay Virginia

Named Plaintiffs and others similarly situated all wages due.

       51.     The Virginia Named Plaintiffs and others similarly situated are “employees” and

Defendant is their “employer” under Virginia Code § 40.1-29.2.

       52.     Defendant’s violations of Virginia law are repeated, knowingly, willful, and

intentional.

       53.     Defendant is liable to the Virginia Named Plaintiffs, and all other similarly situated

individuals, under the Virginia Wage Payment Law, Virginia Code § 40.1-29, for all unpaid

wages, plus liquidated damages, attorney’s fees, litigation expenses, costs, and any other and

further relief this Court deems appropriate.

                                         COUNT III
                        Violation of the Virginia Overtime Wage Act
                                 Va. Code § 40.1-29.2, et seq.
         (On Behalf of the Virginia Named Plaintiffs and Others Similarly Situated)

       54.     Plaintiffs re-allege and incorporate by reference the allegations set forth in the

preceding paragraphs.




                                                 13
   Case 3:23-cv-00048-HEH Document 1 Filed 01/19/23 Page 14 of 19 PageID# 37




       55.     Virginia Code § 40.1-29.3(B) provides that “[a]n employer shall pay each

employee an overtime premium at a rate not less than one and one-half times the employee’s

regular rate for any hours worked by an employee in excess of 40 hours in any one workweek.”

       56.     Virginia Code § 40.1-29.3(C) provides that when an employer fails to pay the

overtime premium above, “the employee may bring an action against the employer in a court of

competent jurisdiction to recover payment of the overtime wages, and the court shall award the

overtime wages owed, an additional equal amount as liquidated damages, and reasonable attorney

fees and costs.”

       57.     Defendant violated Virginia law by failing to pay the Virginia Named Plaintiffs

and others similarly situated one and one half times their regular hourly rate for hours worked in

excess of 40 hours in any one work week.

       58.     The Virginia Named Plaintiffs and others similarly situated are “employees” and

Defendant is their “employer” under Virginia Code § 40.1-29.2.

       59.     Defendant’s violations of Virginia law are repeated, knowingly, willful, and

intentional.

       60.     Defendant is liable to the Virginia Named Plaintiffs, and all other similarly situated

individuals, under the Virginia Overtime Wage Act, Virginia Code § 40.1-29.2 et seq., for all

unpaid overtime wages, plus liquidated damages, attorney’s fees, litigation expenses, costs, and

any other and further relief this Court deems appropriate.




                                                 14
   Case 3:23-cv-00048-HEH Document 1 Filed 01/19/23 Page 15 of 19 PageID# 38




                                            COUNT IV
                          Violation of the Virginia Minimum Wage Act
                                    Va. Code § 40.1-28.8 et seq.
               (On Behalf of Plaintiff Donald Austin and Others Similarly Situated)

       61.       Plaintiffs re-allege and incorporate by reference the allegations set forth in the

preceding paragraphs.

       62.       Virginia Code § 40.1-28.10(A)(2) provides that from January 1, 2022 to January

2023, employers “shall pay to each of its employees wages at a rate not less than the greater of (i)

$11.00 per hour or (ii) the federal minimum wage.”

       63.       Virginia Code § 40.1-28.10(A)(2) provides that from January 1, 2023 to January

2025, employers “shall pay to each of its employees wages at a rate not less than the greater of (i)

$12.00 per hour or (ii) the federal minimum wage.”

       64.       Defendant violated Virginia law by failing to pay Plaintiff Donald Austin and

others similarly situated minimum wage.

       65.       Plaintiff Donald Austin is an “employee” and Defendant is his “employer” under

Va. Code § 40.1-28.9.

       66.       Defendant’s violations of Virginia law are repeated, knowingly, willful, and

intentional.

       67.       Defendant is liable to Plaintiff Donald Austin, and all other similarly situated

individuals, under the Virginia Minimum Wage Act, Virginia Code § 40.1-28.8 et seq, for all

unpaid wages plus interest at eight percent per annum upon such unpaid wages in addition to

attorney’s fees, litigation expenses, costs, and any other and further relief this Court deems

appropriate.




                                                   15
   Case 3:23-cv-00048-HEH Document 1 Filed 01/19/23 Page 16 of 19 PageID# 39




                                        COUNT V
             Violation of the West Virginia Wage Payment and Collection Act
                               W. Va. Code § 21-5-4, et seq.
      (On Behalf of the West Virginia Named Plaintiffs and Others Similarly Situated)

       68.     Plaintiffs re-allege and incorporate by reference the allegations set forth in the

preceding paragraphs.

       69.     West Virginia Code § 21-5-3(a) provides that employers “shall settle with its

employees at least twice each month in a manner of the person, firm, or corporation’s choosing, .

. . with no more than 19 days between settlements . . . and pay them the wages due, less

authorized deductions and authorized wage assignments, for their work or services.”

       70.     West Virginia Code § 21-5-12(a) provides that “[a]ny person whose wages have

not been paid in accord with this article . . . may bring any legal action necessary to collect a

claim under this article.”

       71.     West Virginia Code § 21-5-12(b) provides that “[t]he court in any action brought

under this article may, in the event that any judgment is awarded to the plaintiff or plaintiffs,

assess costs of the action, including reasonable attorney fees against the defendant.”

       72.     Defendant violated West Virginia law by knowingly failing to pay the West

Virginia Named Plaintiffs and others similarly situated their wages due twice a month or not more

than 19 days apart.

       73.     The West Virginia Named Plaintiffs are “employees” and Defendant is their

“employer” under W. Va. Code § 21-5-1.

       74.     Defendant’s violations of West Virginia law are repeated, knowingly, willful, and

intentional.




                                                  16
   Case 3:23-cv-00048-HEH Document 1 Filed 01/19/23 Page 17 of 19 PageID# 40




       75.     Defendant is liable to West Virginia Named Plaintiffs, and all other similarly

situated individuals, under the West Virginia Wage Payment and Collection Act, W. Va. Code §

21-5-4, for all unpaid wages, plus attorney’s fees, litigation expenses, costs, and any other and

further relief this Court deems appropriate.

                                        COUNT VI
    Violation of the West Virginia Minimum Wage and Maximum Hours Standards for
                                       Employees Act
                               W. Va. Code § 21-5C-1, et seq.
          (On Behalf of Plaintiffs Sharon Simpson and Others Similarly Situated)

       76.     Plaintiffs re-allege and incorporate by reference the allegations set forth in the

preceding paragraphs.

       77.     West Virginia Code § 21-5C-3(a) provides that if employees work over forty hours

per week, the employer shall pay for hours in excess of forty “at a rate not less than one and one-

half times the regular rate at which he is employed.”

       78.     West Virginia Code § 21-5C-2(a)(6) provides that employers shall pay employees

the federal minimum wage.

       79.     Defendant violated West Virginia law by failing to pay the West Virginia Named

Plaintiffs and others similarly situated one and one half times their regular hourly rate for hours

worked in excess of 40 hours in any one work week.

       80.     Defendant violated West Virginia law by failing to pay Plaintiff Sharon Simpson

and others similarly situated minimum wage.

       81.     Plaintiff Sharon Simpson is an “employee” and Defendant is her “employer” under

West Virginia Code § 21-5C-1.

       82.     Defendant’s violations of West Virginia law are repeated, knowingly, willful, and

intentional.

                                                  17
   Case 3:23-cv-00048-HEH Document 1 Filed 01/19/23 Page 18 of 19 PageID# 41




       83.       Defendant is liable to Plaintiff Sharon Simpson and all other similarly situated

individuals, under the West Virginia Minimum Wage Act, W. Va. Code § 21-5C-1, for all unpaid

overtime, plus attorney’s fees, litigation expenses, costs, and any other and further relief this

Court deems appropriate.

                                      PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully requests that the Court certify an FLSA collective action, a

class action pursuant to Virginia wage and hour law, a class action pursuant to West Virginia

wage and hour law, and enter judgment against Defendant on all counts, and grant Plaintiffs and

all similarly situated individuals the following relief:

       a. Unpaid wages, plus an equal amount as liquidated damages, pursuant to the FLSA, 29

             U.S.C § 216;

       b. Unpaid wages, plus an equal amount as liquidated damages, pursuant to the VWPL,

             Va. Code § 40.1-29 et seq.;

       c. Unpaid wages, plus an equal amount as liquidated damages, pursuant to the VOWL,

             Va. Code § 40.1-29.2 et seq.;

       d. Unpaid wages and interest thereon pursuant to the VMWA, Va. Code § 40.1-28.8 et

             seq.;

       e. Unpaid wages pursuant to the WVWPCL, and liquidated damages pursuant to the

             WVWPCL for those individuals who are eligible for such damages, W. Va. Code §

             21-5-1 et seq.;

       f. Unpaid wages pursuant to the WVMWA, W. Va. Code § 21-5C et seq.;

       g. Such equitable relief as may be appropriate including enjoining Defendant from

             further violations of these laws;

                                                   18
  Case 3:23-cv-00048-HEH Document 1 Filed 01/19/23 Page 19 of 19 PageID# 42




       h. Reasonable attorneys’ fees and expenses incurred in the prosecution of this action;

       i. Costs that Plaintiffs incur in the prosecution of this action;

       j. Prejudgment and post-judgment interest as permitted by law; and

       k. Award any additional relief the Court deems just.

Dated: January 19, 2023                       Respectfully submitted,

                                              /s/ Rachel Nadas
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                                                 19
